
Upon consideration of the order of the Supreme Court of the United States vacating the judgment of this Court in North Carolina v. Speight, ___ U.S. ___, 126 S.Ct. 2977, ___ L.Ed.2d ___ (2006) and remanding that cause for further consideration in light of its decision in Washington v. Recuenco, ___ U.S. ___, 126 S.Ct. 2546, 165 L.Ed.2d 466 (2006), the following order is entered:
The State shall have 20 days from the filing of this order to file and serve a supplemental brief with this Court, limited to the questions of whether there was error in this case pursuant to Washington v. Recuenco and, if so, whether any error can be found to be harmless beyond a reasonable doubt. State v. Hurt, 359 N.C. 840, 616 S.E.2d 910 (2005). Defendant may file its brief in response within 20 days after service of the State's brief upon him. Each side will be allowed up to 20 minutes of oral argument.
By order of the Court in Conference, this 17th day of August, 2006.
